Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 1 of 12

SETTLEMENT AGREEMENT AND RELEASE

This Settlement Agreement and Release is entered into between plaintiff Frank
D’ Agostino (“Plaintiff’ or “Mr. D’ Agostino”) on behalf of himself and the Class members, and
defendant WFS Financial Inc, now known as Wachovia Dealer Services, Inc. (“Defendant” or
“WFS”). Mr. D’Agostino and WFS are collectively referred to as the “Parties.”

RECITALS

WHEREAS, on January 4, 2007, Plaintiff commenced a putative consumer class action
entitled Frank D’Agostino v. WFS Financial, Inc., Docket No. CV-XX-XXXXXXX-S, in
Connecticut Superior Court, Judicial District of Hartford;

WHEREAS, on February 1, 2007, the Action was removed to the United States District
Court for the District of Connecticut, No. 3:07-cv-00161 (CFD);

WHEREAS, Plaintiff alleges that WFS violated the foreclosure provisions of the:
Connecticut Retail Installment Sales Financing Act, Conn. Gen. Stat. §§ 36a-770 ef seg.
(“RISFA”), and Article 9 of the Uniform Commercial Code, Conn. Gen. Stat. §§ 42a-9-101 ef
seg. UCC”), when it repossessed and sold Class members’ vehicles and credited their accounts
with the net sales proceeds rather than the fair market value of the repossessed vehicles;

WHEREAS, Plaintiff also alleges that, with respect to a subclass of Class members, WFS
violated RISFA by failing to provide timely notice of the repossession of the vehicles and the
right of redemption;

WHEREAS, Plaintiff also alleges that, with respect to another subclass of Class members,
WES violated RISFA and the UCC by failing to provide timely and reasonable notice of the sale
of the vehicles;

WHEREAS, Defendant denies the allegations and all liability with respect to any and all
facts and claims alleged in the Action and further denies that Plaintiff or any Class member,
including any member of any subclass, has suffered any damage;

WHEREAS, contested issues of both law and fact exist concerning the allegatioris and
claims made against Defendant;

WHEREAS, Plaintiff and Class Counsel have conducted an extensive investigation into the
facts and law and have engaged in extensive discovery and settlement negotiations relating to the
Action;

WHEREAS, on June 17, 2008, the Parties and their counsel participated in a full:day
mediation with the Honorable Edward A. Infante of JAMS and reached a settlement; .

WHEREAS, Class Counsel, while maintaining that Plaintiff and the Class members would
prevail on all issues in the Action, has concluded that the terms and conditions of this Settlement
Agreement are fair, reasonable and adequate to Plaintiff and to the Class members and in their
best interests, and Plaintiff has agreed to settle the claims raised in the Action, subject ito the

sf-2541755

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 2 of 12

approval of the Court, pursuant to the terms and provisions of this Settlement Agreement, after
considering: (a) the benefits that Plaintiff and the Class members will receive from settlement of
the Action; (b) the attendant risks of litigation; and (c) the desirability of permitting a settlement
to be consummated as provided by the terms of this Settlement Agreement; and

WHEREAS, Defendant, while continuing to deny all allegations of liability, alsa desires to
settle, compromise and terminate Plaintiffs and the Class members’ claims against it to avoid
the further substantial expense, inconvenience and distraction of burdensome and protracted
litigation and to put to rest forever all claims which have been or could have been asserted
against WFS in this Action or elsewhere, and which arise from or are in any way related to the
acts, transactions or occurrences alleged in the Action;

Now THEREFORE, in consideration of the covenants and agreements set forth herein,
Plaintiff, on behalf of himself and the Class members, and WFS agree to the Settlement of the
Action, subject to approval of the Court pursuant to Rule 23(e) of the Federal Rules of Civil
Procedure, under the following terms and conditions.

1. Definitions

As used in this Settlement Agreement, the terms set forth in this section in boldface type
will have the following meanings:

Ll Action. The lawsuit entitled Frank D'Agostino v. WES Financial, Inc., United
States District Court for the District of Connecticut, No. 3:07-cv-00161 (CFD).

1.2 Class. Individuals who are listed in Exhibit A, which consist of individuals:
(a) who were retail buyers of motor vehicles that were purchased pursuant to a retail installment
contract or installment loan contract executed in the State of Connecticut and subsequently held
by WES; (b) whose motor vehicles were subsequently repossessed and sold by WFS within the
Class Period; (c) as to whom the net proceeds of the sale were insufficient to cover the balance
due under the retail installment contract or installment loan contract; (d) whose accounts WFS
credited with the actual sales proceeds (as opposed to the fair market value of the motor vehicle);
and (e} who were not parties to any legal action brought by or against WFS in which judgment
was entered prior to June 17, 2008.

1.3. Class Counsel or Plaintiff's Counsel. Daniel S. Blinn of the Consumer Law
Group, LLC.

14 Class Peried. The period commencing on January 4, 2004, and termiriating on
July 1, 2008, this latter date representing the sale date through which WFS has reviewed putative
Class members’ files.

1.5 Court. The United States District Court for the District of Connecticut.

1.6  Defendant’s Counsel. Michael J. Agoglia, James R. McGuire and Wendy M.
Garbers of Morrison & Foerster LLP and Daniel L. FitzMaurice and Jason 8. Weathers of Day
Pitney LLP.

sf-2541755

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 3 of 12

1.7 Deficiency Judgment. A judgment obtained by WFS against any Class member
for any deficiency owed following the resale of the Class member’s motor vehicle.

1.8 Effective Date. The last date on which all of the following have occurred:

(a) The Settlement Agreement is fully executed by Plaintiff, WFS, Class
Counsel and the Defendant’s Counsel.

(b} The Court enters a Final Judgment and Order of of Dismissal approving
the Settlement of the Action in a manner substantially consistent with the
terms and intent of the Settlement Agreement.

(c) Either: (i) sixty-five (65) days have passed after completed service on the
Parties to the Action and all objectors to the Settlement of the Action, if
any, of notice of entry of the Court’s Final Judgment and Order of
Dismissal finally approving the Settlement of the Action, and within such
time no appeal is taken or no extension for such appeal is granted, or (11) if
an appeal is taken with respect to the Court’s Final Judgment and Order of
of Dismissal approving the Settlement of the Action, the appellate court
has by final order affirmed the Court’s judgment finally approving the
Settlement of the Action, or has denied review, or the appellant:otherwise
bas exhausted all appellate remedies, including, but not limited to,
attempts to obtain discretionary review.

1.9 Final Judgment and Order of Dismissal. The proposed order in the form
attached hereto as Exhibit D.

1.10 Hearing. The hearing at which the Court will determine whether to grant final
approval of the Settlement.

1.11 Notice. The “Notice of Class Action Settlement,” which is to be sent by mail to
Class members in the form attached hereto as Exhibit C.

1.12 Order Concerning Class Certification, Notice, Scheduling, and Preliminary
Approval. The proposed order in the form attached hereto as Exhibit B.

1.13 Released Parties, WFS and Wachovia Dealer Services, Inc., and any entities and
persons who acted or who may have been alleged to have acted in concert with or at the request
or direction of WFS and Wachovia Dealer Services, Inc., together with each of their respective
present, former and future directors, officers, partners, associates, employees, agents, Contractors,
servants, accountants, auditors, insurers, reinsurers, appraisers, investment advisers,
underwriters, attorneys, brokers, parent companies, subsidiaries, affiliates, predecessors,
successors, assigns (whether express or by implication or operation of law), heirs, executors,
personal representatives, estates, administrators and legal representatives.

1.14. Settlement. The settlement contemplated by this Settlement Agreement.

sf-2541755

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 4 of 12

1.15 Settlement Administrator. Tilghman & Co., P.C., at 11250 Independence
Drive, Suite 102, Birmingham, Alabama 35202-1250.

1.16 Settlement Agreement. This document, including the text and exhibits of this
Settlement Agreement, which has been signed by Plaintiff, Class Counsel, Defendant and
Defendant’s Counsel.

1.17 Settlement Class and Settlement Subclasses. The class and subclasses defined
in section 3.1 hereof.

1.18 Subclass A. Individuals who are in the Class and designated as Subclass A
members in Exhibit A. Subclass A is made up of individuals who WFS’s records indicate were
not sent written notice of the repossession of their vehicles within three days of the date of
repossession, as determined by WFS’s file-by-file review. Subclass A does not include
individuals who would otherwise qualify for membership but are also in Subclass B.

1.19 Subelass B. Individuals who are in the Class and designated as Subclass B
members in Exhibit A. Subclass B is made up of individuals who WFS’s records indicate were
not sent written notice of the private sale or other intended disposition of their vehicles at least
ten days prior to the time that such private sale or other disposition could be made, as determined
by WFS’s file-by-file review.

2. Settlement Procedures

2.1 The Parties, as soon as is reasonably practicable, shall apply jointly to the Court
for an Order Concerning Class Certification, Notice, Scheduling, and Preliminary Approval
substantially in the form of Exhibit B hereto: (a) preliminarily approving this Settlement
Agreement as within the range of possible final approval as fair, adequate and reasonable;

(b) preliminarily certifying the Settlement Class, Settlement Subclass A and Settlement Subclass
B, as defined in section 3.1 for settlement purposes only; (c) setting a final approval Hearing
date; (d) setting a period of time during which Class members may submit requests to:be
excluded from the Settlement Class or object to the Settlement of this lawsuit; and (e):approving
the manner and form of class notice described in section 3.

2.2 If the Court certifies any classes or enters any orders relating to Plaintiff and Class
Counsei, such actions shall not be an adjudication of any fact or issue for any purpose’ other than
the effectuation of this Settlement Agreement and shall neither be considered as law of the case
or res judicata nor have collateral estoppel effect in this or any other proceeding. In the event
that final approval is not achieved, the Court’s orders contemplated by this section shail be null,
void and vacated and shall not be used or cited thereafter by any person or entity.

3. The Settlement Class and Class Notice

 

3.1 Settlement Class and Settlement Subclasses. For settlement purposes only, the
Parties agree that the Court may certify: (a) a Settlement Class of individuals identified as Class
members in Exhibit A, who were identified as described in section 1.2 above; (b) a Settlement
Subclass A of individuals identified as Subclass A members in Exhibit A, who were identified as

sf-2541755

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 5 of 12

described in section 1.18 above; and (c) a Settlement Subclass B of individuals identified as
Subclass B members in Exhibit A, who were identified as described in section 1.19 above.

3.2 Decertification of the Settlement Class if Settlement Not Approved. If the
Court does not grant final approval of the Settlement, certification of the Settlement Class and
Subclasses will be vacated and the Parties will be returned to their status quo ante with respect to
the Action as if this Settlement Agreement had not been entered into. In the event that final
approval is not achieved: (a) any Court orders preliminarily or finally approving the certification
of any class contemplated by this Settlement Agreement shall be null, void, and vacated and
shall not be used or cited thereafter by any person or entity; and (b) the fact of this Settlement
Agreement, that WFS sought the certification of any class under this Settlement Agreement, or
that the Court preliminarily approved the certification of a Settlement Class, Settlement Subclass
A, and/or Settlement Subclass B shall not be used or cited thereafter by any person or entity,
including in any contested proceeding relating fo the certification of any class.

3.3. Form of Notice. The Notice shall be substantially in the form attached as
Exhibit C. The Notice to Class members shall provide for exclusion of individuals from the
Class upon their written request for exclusion, hand-delivered or mailed to Class Counsel and
postmarked on or before the date specified in the Notice and shall contain an opt-out form for
this purpose. Proof of mailing of the Notice shall be submitted to the Court as part of the
application for fmal approval of the Settlement. The Notice shail inform the Class members that
they may contact Class Counsel to learn whether they are in either of the subclasses and whether
they will be receiving a check under this Settlement Agreement.

3.4 Administering the Settlement Agreement. WFS shall pay the reasoriable costs
of administering this Settlement Agreement.

3.5. Manner of Giving Netice. Within 15 days of the Court’s order preliminarily
approving this Settlement Agreement, WFS shall provide the Settlement Class list to the
Settlement Administrator. Within 30 days of the Court’s order preliminarily approving this
Settlement Agreement, the Settlement Administrator shall update the Settlement Class Hst
through the National Change of Address database and shall mail the notices described! in section
3.3 above to the Settlement Class members by first-class mail. Within 10 days of recdiving any
notices that are returned as undeliverable, the Settlement Administrator shall conduct a second
address search through TransUnion and, in the event that the TransUnion search reveals an
alternate address, re-mail those notices. In the event any notices are returned from the Post
Office with a better address, the Settlement Administrator shall re-mail those notices. WFS will
be obligated to provide only a single class notice to all Settlement Class members shown to
reside at the same unique address. No further notice shal} be required after the Court enters a
Final Judgment and Order of Dismissal approving the Settlement of the Action.

3.6 Opting Out. Any Settlement Class member may elect to be excluded from this
Settlement and from the Settlement Class and subclasses by opting out. Any such Settlement
Class member must give written notice of the election to be excluded to Class Counsel. The opt-
out request must be substantially in the form of the opt-out form contained in the Notice attached
as Exhibit C and must be hand-delivered or postmarked on or before the date specified in the
Notice. Within 15 days after the expiration of the opt-out period, Class Counsel shall provide

sf-2541755

 

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 6 of 12

Defendant’s Counsel with copies of the completed opt-out forms. If more than 5% of the people
eligible for Class membership elect to opt out of the Class, WFS may elect to withdraw from this
Settlement Agreement by providing written notice to Class Counsel of such election not later
than 5 days before the Hearing, in which case this Settlement Agreement shall be of no force and
effect and the Settlement Class and Subclasses shall be decertified pursuant to section 3.2.

3.7. Settlement Administrator’s Report. In response to periodic requests, the
Settlement Administrator shall inform Class Counsel of the status of the mailing of the Notices
and the efforts to obtain current addresses for the Settlement Class members and will provide a
written update to Class Counsel and Defendant’s Counsel not less than 15 days prior to the ©
Hearing.

4. Classwide Settlement Relief

4.1 Asto each Settlement Class member who has not requested exclusion from the
Settlement Class pursuant to the procedures set forth in section 3.6 above, in full settlement and
compromise of all claims, the following events will occur within 30 days after the Effective
Date:

(a) | WFS shall release each Settlement Class member from any obligation to
pay any deficiency that was or is claimed by WFS after the repossession
and sale of the motor vehicles. WFS shall file all papers necessary to
withdraw or dismiss pending legal proceedings (if any) seeking
Deficiency Judgments against Class members. If a Deficiency Judgment
was entered by a court on or after June 17, 2008, then WFS will file a
satisfaction of judgment with the court. WFS acknowledges that the
obligations released under this section were subject to a bona fide dispute.

(b) | WFS shall contact the following credit reporting bureaus and request the
deletion of the Class members’ tradelines. WFS will notify:

Equifax TransUnion Experian
P.O. Box 740256 P.O. Box 2000 701 Experian Parkway
Atlanta, Georgia 30374 Chester, Pennsylvania 19016 Allen, Texas 75013

(2) The Settlement Administrator shall mail to each Settlement Class member
who is a member of Settlement Subclass A and upon whom a Notice has
been served and not returned as undeliverable, as provided for in section
3.5 above, a check in the amount of $215.00; provided, however, that
there shall be a single check sent for each account, which check shall be
made payable and mailed to the primary debtor on the account.

1

(4) The Settlement Administrator shall mail to Plaintiff and to each Settlement
Class member who is a member of Settlement Subclass B and upon whom
a Notice has been served and not returned as undeliverable, as provided
for in section 3.5 above, a check in the amount of $575.00; provided,
however, that there shall be a single check sent for each account, which

sf-2541755

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 7 of 12

check shall be made payable and mailed to the primary debtor on the
account.

4.2 The checks to the members of Settlement Subclass A and Settlement Subclass B
will be issued and mailed by and in the name of WFS or the Settlement Administrator, with the
cost of such mailing paid for by WFS. All such checks shail contain a notation stating that they
must be cashed within 90 days of issuance. The Settlement Administrator shall certify to the
Court that all checks were issued in the amounts required by section 4.1 above and mailed within
the timeframe provided herein, all of which shall be subject to review by Ciass Counsel. If the
Court’s approval of the Settlement does not become final, no cash payment will be made.

5. Other Settlement Relief

5.1 At least 10 days prior to the Hearing, Class Counsel shall apply to the Court for:
(i) an award of reasonable attorney’s fees and costs in an amount not greater than $80;000; and
(ii) a class representative fee in an amount not greater than $2,000 to Plaintiff. Class Counsel
and Plaintiff agree not to retain any fee awards in excess of the foregoing amounts.

5.2 The fees referred to in section 5.1 are to be paid by WFS in addition to, and not
out of, payments WFS makes to the Class members, and shall be paid to Class Counsel within 20
business days of the Effective Date, subject to Class Counsel’s and Plaintiff's obligation to make
appropriate refunds or repayments to WFS if and when, as a result of any appeal and/or further
proceedings on remand, or successful collateral attack, the fee or cost award is reduced or
reversed.

5.3. It is specifically understood and agreed that any award of reasonable attorney’s
fees and costs and the class representative fee shall constitute the exclusive award of fees,
expenses and costs pursuant to this Settlement. WFS confirms that these fees were negotiated at
arm’s length and that the negotiations did not begin until after all of the benefits to the Class
members were agreed upon. WFS agrees not to oppose the application for these fees.

6. Release of Claims

6.1 Class Claims. Upon final approval, Plaintiff, each Settlement Class member who
has not opted out of this Settlement Agreement in accordance with the terms of this Settlement
Agreement, and each of their respective spouses, executors, representatives, heirs, guecessors,
bankruptcy trustees, guardians, wards, joint tenants, tenants in common, tenants by the entirety,
co-borrowers, agents and assigns, and all those who claim through them or who assert claims on
their behalf, will be deemed to have completely released and forever discharged the Released
Parties, and each of them, from any claim, right, demand, charge, complaint, action, cause of
action, obligation, or liability of any and every kind, including, without limitation, those based
on the Released Parties’ alleged violation of RISFA and the UCC, or any other federal, state, or
local law, statute, regulation, common law or contractual undertaking, including all claims for
monetary, equitable, declaratory, injunctive, or any other form of relief, whether known or
unknown, suspected or unsuspected, under the law of any jurisdiction, which Plaintiff or any
Settlement Class member ever had, now has or may have in the future resulting from, arising out
of or in any way, directly or indirectly, connected with: (a) any acts or omissions that! were

sf-2541755

 

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 8 of 12

raised in the Action or that relate to any aspect of the lending relationship between each
Settlement Class member and the Released Parties, including, but not limited to, the solicitation,
application, processing, underwriting, pricing, origination, disclosures, closing, funding,
modification, servicing, enforcement, sale or securitization of such loans, and efforts to foreclose
upon, repossess or sell any collateral securing such loans; and (b) any event, matter, dispute or
thing that in whole or in part, directly or indirectly, relates to or arises out of said events
specified in subsection (a} of this section.

6.2. Unknown Claims. Plaintiff and Settlement Class members may hereafter
discover facts other than or different from those that they know or believe to be true with respect
to the subject matter of the claims released pursuant to the terms of section 6.1, but each of those
individuals expressly agrees that, upon entry of the Court’s Final Judgment and Order of
Dismissal, he shall have waived and fully, finally and forever settled and released any known or
unknown, suspected or unsuspected, asserted or unasserted, contingent or non-contingent claim
with respect to the claims released pursuant to section 6.1, without regard to subsequent
discovery or existence of such different or additional facts.

6.3 Bar to Future Suits, Plaintiff, and Settlement Class members who do not opt out
in accordance with this Settlement Agreement, shall be permanently enjoined from bringing,
joining, prosecuting or continuing to prosecute any legal proceeding against any Released Party
with respect to the conduct, services, fees, charges, acts or omissions of any Released Party
relating to all matters within the scope of the release in this section, in sections 6.1 and 6.2 above
or actions faken by a Released Party that are authorized or required by this Settlement
Agreement or by the Court’s Final Judgment and Order of Dismissal. The Court shall retain
jurisdiction to enforce its judgment, releases and bar to suits contemplated by this Settlement
Agreement. It is further agreed that this Settlement Agreement may be pleaded as a complete
defense to any proceeding subject to this section, and the release in this section and sections 6.1
and 6.2 shall have res judicata and other preclusive effect.

7. Dismissal of Litigation

At the time of the Hearing, the Parties shall jointly move the Court for a Final Judgment
and Order of Dismissal, substantially in the form attached as Exhibit D, dismissing the claims
asserted in this lawsuit with prejudice and on the merits.

8. Continuing Jurisdiction

The Court shall have continuing jurisdiction to enforce this Settlement Agreement’s
terms, and to enforce its Final Judgment and Order of Dismissal entered in this Action.

9. Non-Disparagement

Class Counsel and Plaintiff agree to refrain from intentionally disparaging WFS and its
parent company, subsidiaries, affiliates, successors or assigns with respect to any issue related to
this case. Class Counsel and Plaintiff agree to refrain from taking any action designed to harm
the public perception of WFS and its parent company, subsidiaries, affiliates, successors or
assigns regarding any issue related to this case, except they may provide sworn testimony if
required by an order from a court of competent jurisdiction. WFS and Defendant’s Counsel

8g
sf-2541755

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 9 of 12

agree to refrain from intentionally disparaging Plaintiff publicly or in the media regarding any
issue related to this case. Failure to abide by this provision will constitute a breach of this
Settlement Agreement.

10. Representations and Warranties

10.1 Ne Additional Persons with Financial Interest. Plaintiff and Class Counsel
warrant and represent that they are not aware of any persons (natural or legal) having any interest
in any award of attorney’s fees, costs and litigation expenses in connection with the Action.
Plaintiff and Class Counsel agree to hold Defendant harmless from any claim by any person for
an award of attorneys’ fees, costs, and litigation expenses in connection with the Action.

10.2 Parties Authorized to Enter into Settlement Agreement. All persons
executing this Settlement Agreement and any of the exhibits hereto, or any related documents,
warrant and represent that they have the full authority to do so and that they have the authority to
take appropriate action required or permitted to be taken pursuant to this Settlement Agreement
to effectuate its terms. Each party hereto further represents and warrants that he, she, or it
intends to be bound fully by the terms of this Settlement Agreement.

10.3 No Attempt by Parties to Object. Plaintiff and Defendant each represent and
warrant that they have not nor will they: (a) attempt to void this Settlement Agreement in any
way; or (b) solicit, encourage or assist in any fashion any effort by any person (natural or legal)
to object to this Settlement Agreement.

10.4 Cooperation. The settling Parties, Class Counsel and Defendant’s Counsel agree
to cooperate fully with one another in seeking Court entry of the Order Concerning Class
Certification, Notice and Scheduling and approval of the Settlement Agreement, and to promptly
agree upon and execute all such other documentation containing such terms and conditions as to
which they reasonably can agree, as may reasonably be required to effect final approval of the
Settlement Agreement.

10.5 Best Efforts. The Parties agree that the terms of this Settlement Agreement
reflect a good-faith settlement of disputed claims. Plaintiff, Class Counsel and WFS consider the
Settlement effected by this Settlement Agreement to be fair and reasonable and will use their
best efforts to seek approval of the Settlement by the Court, and in responding to any objectors,
intervenors or other persons or entities seeking to preclude the final approval of this Settlement.

10.6 Settlement Agreement Binding on Successors in Interest. This Settlement
Agreement shall be binding on and inure to the benefit of the respective heirs, successors, and
assigns of the Parties. This Settlement Agreement shall be binding upon, and inure to the benefit
of, the successors and assigns of the Parties hereto.

11. Miscellaneous

11.1 No Admission of Liability er Damages. This Settlement Agreement does not
constitute, is not intended to constitute, and will not under any circumstances be deemied to
constitute, an admission by either party as to the merits, validity or accuracy, or lack thereof, of
any of the allegations or claims in the Action. This Settlement Agreement does not constitute a

9
sf-2541755

 

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 10 of 12

waiver of any defenses or affirmative defenses that WFS or its successors may be entitled to
assert in any future litigation, including, but not limited to, preemption.

11.2 Entire Agreement. This Settlement Agreement contains the entire agreement
between the Parties and supersedes all prior understandings, agreements or writings regarding
the subject matter of this Settlement Agreement. No representations, warranties or inducements
have been made by the Parties hereto conceming this Settlement Agreement and its exhibits
other than those contained and memorialized in such documents.

11.3. Amendment. This Settlement Agreement may be amended or modified only by a
written instrument signed by the Parties or their successors in interest or their duly-authorized

representatives.

ii.4 Waiver. The waiver by one party of any breach of this Settlement Agreement by
the other party shall not be deemed a waiver of any other prior or subsequent breach of this
Settlement Agreement.

11.5 Governing Law. This Settlement Agreement is intended to and shall be
governed by the laws of the State of Connecticut. The construction, interpretation, operation,
effect and validity of this Settlement Agreement, and all documents necessary to effectuate it,
shall be governed by the substantive law of the State of Connecticut.

11.6 No Construction Against Drafter. This Settlement Agreement shall be deemed
to have been drafted by the Parties, and any rule that a document shall be interpreted against the
drafter shall not apply to this Settlement Agreement.

11.7 Time Periods. The time periods and dates described in this Settlement
Agreement related to the giving of notices and hearings are subject to Court approval and
modification by the Court or by written stipulation of the Parties’ counsel. The Parties may
request that the Court allow reasonable extensions of time to carry out the provisions of the

Settlement.

11.8 Signatures. The Parties may sign separate copies of this Settlement Agreement,
which together will constitute one Settlement Agreement. Each copy shall be deemed to be an
original, and execution of counterparts shall have the same force and effect as if the Parties had
signed the same instrument. In addition, signature by facsimile will constitute sufficient
execution of this Settlement Agreement.

 

SE eT
Dated: Aergust , 2008 PLAINTIFF AND CLASS REPRESENTATIVE
OF THE SETTLEMENT CLASS
FRAMK D’ AGOSTINO
10

sf-2541755

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 11 of 12

SENET
Dated: Aweust , 2008

dy -
Dated: £ , 2008

Dated: August , 2008

3£2541755

DEFENDANT WES FINANCIAL, INC., NOW
KNOWN AS WACHOVIA DEALER SERVICES, INC.

By:
WACHOVIA DEALER SERVICES, INC.

 

NAME:

 

POSITION: _

APPROVED AS TO FORM:

CONSUMER LAW GROUP, LLC

By: LE
DANfELS. BLINN, ESO.
Attorneys for Plaintiff and Class
Representative Frank D’ Agostino and the

Settlement Class

MORRISON & FOERSTER LLP

By:

 

MICHAEL J. AGOGLIA, ESQ.

JAMES R. McGUIRE, ESQ.

WENDY M. GARBERS, ESQ
Attorneys for WFS Financial Inc, now
know as Wachovia Dealer Services, Inc.

il

 

 
Case 3:07-cv-00161-CFD Document 49 Filed 09/29/08 Page 12 of 12

settiement agreement - executed by def pdf

j—
Dated: September ! “2 __, 2008 DEFENDANT WFS FINANCIAL, INC., NOW
KNOWN AS WACHOVIA DEALER SERVICES, INC.

LA % We

WACHOVIA DEALER WW ES, INC.
soa A Ah WW

POSITION: \ hae

  

 

APPROVED AS TO FORM:

Dated: September , 2008 CONSUMER LAW GROUP, LLC

By:

 

DANIEL S. BLINN, ESQ.

Attommeys for Plaintiff and Class
Representative Frank D’ Agostino and the
Settlement Class

Dated: September L9 , 2008 MORRISON & FOERSTER LLP

py: (MUM Oe*>

MICHAEL J. AGOGWA, E¥Q.

JAMES R. McG , ESQ.

WENDY M. GARBERS, ESQ

Attorneys for WFS Financial Inc, now
known as Wachovia Dealer Services, Inc.

 

HH
sf-2541755

 
